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April 2, 2021

By ECF and Email

Honorable Katherine Polk Failla
United States District Judge
40 Foley Square
New York, NY 10007

Re:    United States v. Ahuja and Shor, 18 Cr. 328 (KPF)

Dear Judge Failla:

    On behalf of Jeremy Shor, we respectfully submit this letter motion to preserve for
appellate review a request for monetary sanctions to provide relief for the financial harm
suffered by Mr. Shor as a result of the government’s at least reckless failure to memorialize,
preserve, and produce Brady/Giglio material, and its at least reckless failure to provide
accurate information to the Court. At the same time, we recognize that, under the Second
Circuit’s controlling authority, the request must be denied on this record.

     Beyond ordering a new trial or dismissing the case, the Court has inherent and statutory
authority to impose sanctions. See United States v. Nejad, 487 F. Supp. 3d 206, 224 (S.D.N.Y.
2020) (Nathan, J.) (noting the government’s agreement that the Court had inherent authority
to impose sanctions); 28 U.S.C. § 1927. Section 1927 provides:

       Any attorney or other person admitted to conduct cases in any court of the
       United States or any Territory thereof who so multiplies the proceedings in
       any case unreasonably and vexatiously may be required by the court to satisfy
       personally the excess costs, expenses, and attorneys’ fees reasonably incurred
       because of such conduct.

     The government has now admitted that its representations to the Court were wrong,
that its searches were inadequate, and that it failed to meet its disclosure obligations in
significant ways. As set forth in the joint motion, the government’s admissions barely scratch
the surface, because each prosecutor on the trial team repeatedly made incorrect statements
to the Court and to the parties that—to this day—stand uncorrected and unacknowledged.
Because of the government’s failures, the defense teams have been forced not only to prepare
for and conduct the defense, but also to shoulder the additional burden of wresting disclosures
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from the government through motion practice, third-party subpoenas, and FOIA requests, as
well as the burden of seeking to discover the reasons for the government’s disclosure failures
and inaccurate representations to the Court. All of this has “unreasonably and vexatiously”
multiplied the proceedings, and in addition to a new trial or dismissal (as argued in the joint
motion), an award of attorney’s fees, costs, and expenses is warranted to remedy the harm
suffered.

     Notwithstanding the plain language of the statute, the Second Circuit has interpreted
the Court’s authority to impose attorney’s fees under its inherent power and Section 1927 to
require a finding that the prosecutors acted in bad faith—“clear evidence that the challenged
actions are entirely without color, and [are taken] for reasons of harassment or delay or for
other improper purposes.” United States v. Seltzer, 227 F.3d 36, 40 (2d Cir. 2000) (internal
quotation marks omitted). The record before the Court demonstrates at the very least
reckless disregard by the prosecutors of their duty of candor to the Court and their obligation
to memorialize, preserve, and produce Brady/Giglio material, and therefore the record
warrants dismissal of the case or a new trial. The record also demonstrates that the
defendants have suffered harm in the form of the attorney’s fees, costs, and expenses of the
trial (based on incomplete evidence), the motion for bail pending appeal (based on an
inaccurate factual record), the appeal briefing (also based on an inaccurate factual record),
and the post-FOIA litigation regarding the government’s disclosure failures and inaccurate
representations to the Court. Even if the Court grants dismissal, these harms will remain
unremedied; if the Court instead orders a new trial, these financial harms will be
compounded.

    We recognize that the record before the Court does not permit a finding that the
prosecutors’ actions were taken “for reasons of harassment or delay.”1 Accordingly, while we
submit that sanctions, including an award of attorney’s fees, costs, and expenses are
appropriate, and preserve that argument for appeal, we recognize that the Court is bound by
Seltzer to deny an award of attorney’s fees.

   It should be noted that under the Court’s inherent power, the Court is permitted to
impose sanctions on a party as well as on an attorney. And, while Section 1927 authorizes

1Nor does the record before the Court—which includes the prosecutors’ declarations stating that their
actions were taken in good faith or inadvertently, but no adversarial testing of those claims, see ECF
427 (Shor letter objecting to the Court’s decision not to conduct a hearing or other adversarial testing,
but instead to require only declarations from the trial prosecutors)—permit a finding of good faith by
the prosecutors. See United States v. Spinelli, 551 F.3d 159, 166 (2d Cir. 2008) (holding that the Court
“cannot affirm” on the basis of the district court’s finding of no knowledge of perjury based only on the
prosecutors’ sworn affidavits, because they were never subjected to adversarial testing, and instead
assuming that the prosecutors engaged in knowing use of perjured testimony).
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only a sanctions order against an attorney, the Department of Justice is permitted to
indemnify its attorneys, see 28 C.F.R. § 50.15(c); Justice Manual § 4-5.412, and we submit
that no other result would be appropriate here. In other words, either by discretionary
indemnification by the Department of Justice, or under the Court’s inherent powers, the
sanctions should be paid by the Department, not individual prosecutors, because the
Department is responsible for the failures here and for the financial harm visited on the
defendants as a result.




                                            Respectfully submitted,



                                            Justin S. Weddle
